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                                       JASON R. SMITH
                            Business I)evelopment AnalysUAssistant



    August 14,2009

    Norman Hauser
    Cape Fear Bulk LLC
    dba Metro Ports
    336 Shipyard Blvd.
    Wilmington, NC 28412

'   Dear Mr. Hauser,

    We have received your letter of intent to renew the lease agreement between Cape Fear
    Bulk LLC and the North Carolina State Ports Authority for the lease of the C-l
    Warehouse and property at the Port of Wilmington for an additional five-year term.

    We are pleased that you have decided to extend your Agreement, and we look forward to
    continuing to work with you over the coming years.


    Bqit Regards,

    JrL>
      \     adl

    Jason R. Smith




                                                                                  Ex. A
                               P.O. Box 9002 Wilmington, NC 28402
                              Phone: 9 10-343-6227 Fax: 9 l0-7 63-6440
                                     J3ssn_Smith@ncports.com
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STATE OF NORTH CAROLINA                                     LEASE

COUNTY OF NEW HANOVER                         BETWEEN CAPE FEAR BULK, LLC AND NORTH
                                              CAROLINA STATE PORTS AUTHORITY


               THIS LEASE dated as of January 1, 2005 by and between the NORTH CAROLINA

STATE PORTS AUTHORITY, an agency of the State of North Carolina created and operating

pursuant to Part 10 of Article 10 of Chapter 143B of the General Statutes of North Carolina

("NCSPA"), and CAPE FEAR BULK, LLC, a North Carolina limited liability corporation ("CFB");

                                         WITNESSETH:

       WHEREAS, NCSPA owns and operates an ocean port terminal at Wilmingto^ North Carolina

(Wilmington Port); and

       WHEREAS, NCSPA and CFB desire to enter into an agreement with respect to the leasing of

certain premises situated within Wilmington Port and the operation and maintenance of certain

equipment and facilities presently located thereon.

       NOW, THEREFORE, in consideration of the premises and of the agreements and covenants

herein contained, and for other good and valuable consideration, receipt of which is hereby

acknowledged, the parties hereto agree as follows:

       ARTICLE 1. DEFINITIONS

       1.1 Terms Defined in this Section. The following terms as used in this Lease shall have the

           respective meanings set forth below:

       (a) Bulk Gate — the entrance to Wilmington Port that is situated on the northern end of

Wilmington Port, on Burnett Boulevard, or as said gate may be relocated from time to time.

       (b) Director of Operations — Operations Director of the Port of Wilmington, as designated from

time to time by NCSPA.


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        (c) Environmental Law -- all current and future rules, regulations, orders, judgments, decrees,

ordinances, acts, permits, licenses, laws, codes, legislation or statutes of all local, municipal, county,

state and federal authorities applicable to the discharge of any hazardous materials as defined by the

Comprehensive Environmental Response, Compensation and Liability Act of 1980 as amended by the

Superfund Amendments and Reauthorization Act of 1986, the Resource Conservation and Recovery

Act of 1976 as amended by the Solid Waste Disposal Act, the Hazardous Materials Transportation Act

of 1976 as amended, the Toxic Substance Control Act of 1976 as amended, the Clean Water Act and

the Clean Air Act.

        (d) Force Majeure — any event or occurrence of any nature or kind beyond the control of and

occurring without the negligence of the party invoking the same, including without limitation: acts of

God or of the public enemy, acts of any government or governmental authority (other than NCSPA) in

either its sovereign or its contractual capacity-? governmental restrictions or controls on foreign

exchange-? wars, riots, fires, floods, storms, explosions, epidemics, or quarantine restrictions-? boycotts,

blackouts, strikes, labor disputes, freight embargoes, or other causes of similar nature. Force Majeure

shall also include a termination of this Lease prior to the end of the initial Lease Term unless the Lease

is terminated by NCSPA is the result of a material default of CFB hereunder.

       (e) Leased Area - that parcel of land and the building together with all present and future

improvements thereon and all present and future expansions of and additions to said improvements,

located within Wilmington Port, consisting of; 262,000 square feet, more or less, in building C-l, as

described more fully in Exhibit A which is attached hereto and made a part hereof.

       (f) Moveable Equipment -- tangible personal property, excluding fixtures but including: self-

propelled machines, conveyors, stackers, car moving systems, and any and all machinery used or

operated in connection with the foregoing.



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Permanent Improvements — improvements situated upon the Leased Area together with all fixtures

situated in or on or attached to such improvements.

        (g) Producers Price Index (PPI) - The Producers Price Index, (All Commodities) as reflected in

the report published by the U.S. Department of Commerce, or a comparable statistic computed and

published by an agency of the United States should the publication of the PPI be discontinued.

        (h) Product -- as used herein, the term Product shall mean any dry bulk commodity Shipped by

CFB including agricultural and industrial products, for which all necessary permits (including Air

Quality Permits, as applicable) have been granted by the appropriate regulatory agencies.

        (i) Shipped — moved through Wilmington Port to or from the holds of vessels. The term

"Shipped" shall not apply to transit cargo (stored at Wilmington Port without a prior or subsequent

movement at the Port via water). Transit cargo shall be subject to Tariff Rate.

        (j) Switching — the movement of rail cars from the time such cars leave the main line of the

CSX at Wilmington Port until such cars are returned to such main line, but excluding the movement of

such cars by means of a car puller or other similar device.

       (k) Tariff Rate -- the rate stated in the Morehead City and Wilmington Terminal Tariff No. 7

and as said Tariff may be changed from time to time in the sole discretion of NCSPA.

       (1) Ton — a short ton of 2,000 pounds. (For purposes of conversion, a metric ton shall be

deemed to equal 1.1023 Tons.)


       1.2 Terms Defined Elsewhere in this Lease.

       The following terms as used in this Lease are defined in the respective sections of this Lease

referred to below:

              (a) Lease                     P. 1
              (b) Lease Term                § 3.1
              (c) Annual Rent               § 5.1
              (d) CFB                       P. 1
              (e) NCSPA                     P. 1
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                (f) Release                      §16.1
                (g) Renewal Term                 § 3.2
                (h) Term Year                    §3.1
                (i) Wharfage Charge              §5.2
                (j) Wilmington Port              P. 1


        ARTICLE 2. LEASE OF LEASED AREA; QUIET ENJOYMENT

        2.1 Lease of Leased Area. NCSPA, as Lessor, hereby leases to CFB, as Lessee, the Leased

Area for the Lease Term as provided in Section 3.1, subject to the terms and provisions hereof. CFB

takes and leases the Leased Area "as is" understanding that NCSPA does not intend to expend

substantial funds in any extensive repair or renovation of the building.

        2.2 Quiet Enjoyment. NCSPA, for itself, its successors and its assigns, covenants and agrees

with CFB, its successors and assigns, that (a) NCSPA has and shall have at all times the right to lease

the Leased Area during the Lease Term as provided herein, (b) NCSPA shall defend the right of CFB

to occupy and use the Leased Area against all persons whomsoever, (c) contingent upon the due

performance and observance by CFB of all its covenants and agreements provided herein, CFB shall

peacefully and quietly hold and enjoy the Leased Area and all rights appurtenant thereto, subject to the

terms and provisions hereof, and shall be entitled to and shall have exclusive possession of the Leased

Area and (d) NCSPA has the right to and shall control all activities conducted upon the property

adjacent to or in the vicinity of the Leased Area so that such activities shall not interfere with the quiet

enjoyment of the Leased Area by CFB.

       2.3 Access.

       (a) NCSPA hereby grants to CFB at all times during the Lease Term, full rights of access to

the Leased Area from the adjoining streets, land and railroad facilities of NCSPA's Wilmington Port

provided that CFB and its employees, servants, licensees, invitees and agents shall be required to use

the Bulk Gate. Provided further that whenever the use of the Bulk Gate shall not be practicable,
                                                                                    -     1
                                                                                                 CFB

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and all such persons shall be entitled to use the South Gate upon coordination with the Director of

Operations.

        (b) Upon request by the Director of Operations to CFB, NCSPA shall have reasonable rights of

access to and the right to make reasonable inspections of the Leased Area as the Director of Operations

shall deem necessary in order to satisfy NCSPA of CFB's compliance with the terms of this Lease.

Such inspections shall be made in such a manner and at such times as shall not interrupt the operations

of CFB.

        2.4      Use of Leased Area. CFB shall use the Leased Area solely for the purpose of the

receipt, storage and delivery of Product, as defined herein, including but not limited to bagging,

screening and other customer driven activities.

       2.5      Utilities.

       (a)      All utility connections, including any construction required relating to such connections,

shall be for the account of CFB.

       (b)      NCSPA hereby grants to CFB the right to make connections with existing electric,

water, sewer and other utilities, to repair and renovate such existing utilities, and to undertake

construction of new facilities, to the extent that CFB shall deem any of the foregoing to be necessary in

connection with its operations and activities. NCSPA shall cooperate with the reasonable requirements

of the relevant public utility companies to facilitate the making of such connections, repairs and

renovations and the undertaking of such construction. CFB shall pay the reasonable costs of all such

connections, repairs, renovations and construction, and will be responsible for the costs of all utility

services provided to the Leased Area, including, but not limited to sewer, water, electricity, telephone

service, and garbage disposal. In the event separate metering is not possible at any of the Leased Area

the parties will agree on a reasonable utility payment calculated to reimburse NCSPA for such

expense.

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        (c)     CFB assumes complete responsibility and liability for any damage to the existing

utilities located over, under and upon the Leased Area to the extent such damage results from the

actions of CFB. CFB agrees promptly to replace and repair any such damage. In the event that it has

not done so within a reasonable time NCSPA may, thirty (30) days after giving notice to CFB that such

replacements or repairs would be provided by NCSPA if not completed by CFB, replace or repair any

such damaged utilities and CFB will promptly reimburse NCSPA for the full cost thereof, including

any "in-house" labor costs. Provided that: in the event the damage in question affects or impedes the

operations of NCSPA or other tenants, NCSPA may effect such immediate repairs as it deems

reasonably necessary to allow it to continue to conduct normal operations and CFB will reimburse

NCSPA for the cost thereof.

       2.6      Responsibilities of NCSPA.

       (a)      NCSPA shall exert its good faith best efforts to provide cranes and hoppers in good

working condition and the persons necessary to operate the cranes to serve the needs of CFB with a

minimum of interruption or delay. This responsibility shall include insuring that truck hoppers, their

component parts, and the gantry crane(s) necessary for the operation of the same shall be properly

maintained and the component parts thereof replaced as necessary.

       (b)      NCSPA will install doors and locks at the warehouse to protect and secure the facility

against unauthorized access, which doors and locks shall be subject to CFB's reasonable approval.

NCSPA will maintain the railroad tracks and roads at the Leased Area in good order, according to

generally accepted standards and practices. NCSPA will repair the grading and drainage of the Leased

Area to prevent flooding of the buildings and storage areas. Provided, that NCSPA will not be liable

for any cargo damage caused by the elements or otherwise, except as may result from the active

negligence of NCSPA. In the event NCSPA shall fail or refuse to properly maintain the railroad

tracks, grading and drainage in keeping with the above standards, CFB may carry out such

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     maintenance which, in its reasonable judgment, and in keeping with the above standards, is required

     for the proper maintenance thereof. The reasonable cost of any such maintenance or repairs performed

     by CFB may be deducted from any amounts otherwise due NCSPA pursuant to this Lease.

            2.7     Responsibilities of CFB.    CFB will maintain building C-l in good order, according to

     generally accepted standards and practices applicable to dry bulk handling and distribution operations,

     normal wear and tear excepted; provided that CFB shall have no responsibility for maintenance of the

     roof, other structural items or the railroad tracks or roads at the Leased Area. After reasonable notice,

     NCSPA may conduct periodic inspections of said buildings and recommend maintenance or repairs.

     In the event CFB shall fail or refuse to properly maintain the buildings in keeping with the above

     standards, NCSPA may carry out such maintenance that, in its reasonable judgment, and in keeping

     with the above standards, is required for the proper maintenance thereof. The cost of any such

     maintenance or repairs performed by NCSPA shall be reimbursed by CFB provided, however, that

     NCSPA shall be responsible for the full cost of repairs or replacements that are required as a result of

     the negligent, reckless or willful acts or omissions of NCSPA, its employees or agents.

            2.8     Use of Scale House and Scales. CFB will have exclusive access to and use of the scale

     house currently occupied by CFB, and the adjacent truck scales, at the monthly charge stated in § 5.3.

     CFB will be responsible for the cost of scale certifications. CFB will perform routine maintenance on

     the scales and scale house, but major repairs to the scales will be the responsibility of NCSPA. The

     cost to CFB for scale inspections, certification and maintenance shall not exceed $1,000 per Term

     Year. Trucks requiring weighing (other than in connection with CFB Product) shall be weighed by

     CFB at a cost not to exceed the NCSPA Tariff Rate. CFB shall be responsible for any billing required.

     CFB will provide occasional weighs for NCSPA without charge.


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        ARTICLES. TERM OF LEASE

        3.1     Term. The term of this Lease ("Lease Term") shall commence on January 1, 2005 (the

"Effective Date") and shall continue for a period of five years, unless extended as provided herein.

Each subsequent period of twelve months beginning on January 1 shall constitute a "Term Year."

        3.2     Renewal of Lease. By written notice delivered to NCSPA at least one hundred twenty

(120) days prior to the expiration of the Lease Term in effect at the time the notice is given, CFB shall

have the option to extend this Lease for two additional term(s) of five years (each, a "Renewal Term"),

upon the same terms and conditions as provided herein or as may be modified by mutual agreement.

Any extension period shall then become part of the Lease Term.

        3.3     Termination Right. Notwithstanding the foregoing, after the initial five-year term either

party shall have the right to terminate this lease upon one year's notice to the other. NCSPA may not

give this notice until the expiration of the initial term.

       ARTICLE 4. REPRESENTATIONS AND WARRANTIES

       4.1      Representations and Warranties of NCSPA. NCSPA represents and warrants to CFB,

which representations and warranties shall survive the execution and delivery of this Lease, that the

execution, delivery and performance of this Lease have been duly and validly authorized and approved

by the Board of NCSPA on November 30 2004 and by the Governor and Council of State of North

Carolina at a regular meeting held on December 7 2004 and will not result in a breach of, constitute a

default under or violate the terms of NCSPA's organizational document or by-laws, or any law, rule,

regulation, or agreement to which NCSPA is a party or by which it may be bound. NCSPA represents

and warrants that it has received all approvals of governmental authorities [including licenses,

environmental permits and other permits (collectively, the "Permits")] required in connection with the

ownership of the Facilities and the operation thereof by CFB, and that all Permits are valid and in

effect and NCSPA is in compliance therewith.

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        4.2.     Representations and Warranties of CFB. CFB represents and warrants to NCSPA that

the execution of this Lease was duly approved under the terms of the limited liability company

operating agreement of CFB and that no state of facts exists which would prevent CFB from legally

fulfilling its obligations under this Lease.

        ARTICLES. PAYMENTS BY CFB TO NCSPA

        5.1      Annual Rent.

        (a)      For the Initial Term, annual rent shall be $1.80 per square foot for 262,000 square feet,

more or less, in building C-l for a total annual rental of $471,600 ("Annual Rent") payable in monthly

installments of $39,300.

       (b)       For the first Renewal Term Annual Rent will be adjusted upward from $1.80 in the

same percentage as the increase in the PPI from October 2004 to October 2009.

       (c)       For the second Renewal Term Annual Rent will be adjusted upward from $1.80 in the

same percentage as the increase in the PPI from October 2004 to October 2014.

       (d)       If and to the extent that the Leased Area or any portion thereof, shall become

unavailable to CFB or inoperable due to Force Majeure or any other cause not within the control of

CFB, the amount of the Annual Rent shall be proportionately abated and CFB shall be relieved of the

Wharfage Charge Guarantee in proportion to the duration and severity of the loss of use.

       5.2       Wharfage Charge.

       (a)       Wharfage Charge for CFB Product shall be at the Tariff Rate. Provided, however, that

the Tariff Rate shall not be increased more than six percent in any Term Year.

       (b)(l) CFB will guarantee payment of Wharfage Charge on 70,000 tons of Product Shipped

for storage in Warehouse C-l and on a total of 100,000 tons of Product Shipped during each Term

Year. For the purpose of satisfying the 30,000 tons requirement for Product not required to be stored

in C-l, CFB will be given credit for any Product which it handles across the NCSPA docks, regardless

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of where stored and regardless of who pays the Wharfage Charge. Accounting for this guarantee will

occur at the end of each Term Year. Any shortfall will be paid within 30 days of receipt of the

shortfall accounting. The rate for annual shortfall payments will be the Tariff Rate in effect at the

beginning of such year. For example, if CFB should ship 65,000 tons for C-1, and handle 55,000 tons

to outside storage, it would pay the wharfage charge on 5,000 tons (C-1 shortfall). If it handled 80,000

tons to C-1 and 15,000 tons to outside storage it would pay the wharfage charge on 5,000 tons (Overall

shortfall). If it handled 75,000 tons to C-1 and 25,000 tons to outside storage there would be no

shortfall. Notwithstanding the foregoing, if NCSPA should reduce the amount of property available

for the storage of salt (which is currently 3.35 acres), the guarantee as to the 30,000 tons requirement

for Product not required to be stored in C-1 shall be reduced proportionately. For example, if NCSPA

should determine it had only 2.5 acres available for salt storage (a 26% reduction) then the wharfage

guarantee would be 92,200 tons [70,000 + 30,000 - (0.26 x 30,000)]. Any reduction in the guarantee

will be applied pro rata as of the date salt would have been shipped through Wilmington but for the

unavailability of storage space.

       (b)(2) End-of-Term Adjustment—If, at the end of any five year Term CFB shall have Shipped

at least 350,000 tons of Product for storage in Warehouse C-1 and at least 500,000 tons overall, and if

during that Term CFB shall have been required to make any shortfall payments pursuant to section 5.2

(b)(l) above, then at the end of such five year Term CFB shall be entitled to a refund of any such

shortfall payments. The refund shall be made by crediting the amount of such shortfall payment to

future installments of Rent until all of such payment(s) have been refunded or, if the Lease has been

terminated, by immediate refund in full.

       5.3     Scales. CFB will pay $1,500 per month for the use of the NCSPA scales, regardless of

the number of weighs. This amount will be increased when, and in the same percentage as, Annual

Rent is increased pursuant to § 5.1, above.

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        5.4      Dockage. Vessels carrying Product for CFB customers will be billed for dockage at the

Tariff Rate. In its discretion, NCSPA may require such vessels to pay in advance or otherwise secure

payment of dockage.

        5.5      Other Services. NCSPA will provide CFB with any additional services in connection

with its operations, from time to time and as reasonably requested by CFB, at its Tariff Rate.

       5.6       Invoices.

       (a)       Annual Rent and Scales. Upon the first day of each calendar month during the Lease

Term, NCSPA shall submit to CFB an invoice for the installment of Annual Rent and Scales with

respect to such month, and CFB shall pay to NCSPA the amount of such invoice within thirty days.

       (b)       Other Charges. As soon as practicable following any CFB vessel call NCSPA shall

submit to CFB an invoice with supporting documentation with respect to Wharfage Charges, Crane

and Hopper Rental and Terminal Usage Fees, if applicable, which invoice shall itemize the respective

amounts thereof. CFB shall pay such invoice, except to the extent of any amount that it shall dispute,

within thirty (30) days following its receipt by CFB. In the event of a dispute with respect to an

invoice that cannot be resolved within such thirty-day period, CFB shall submit a statement in writing

to NCSPA setting forth (i) the amount of such invoice that is disputed, and (ii) the position of CFB

with respect to such amount. NCSPA and CFB shall then negotiate in good faith in order to resolve

such dispute, but CFB will not be entitled to withhold payment of any amount not actually in dispute.

       ARTICLE 6. BOOKS AND RECORDS

       Each party shall have the right at reasonable times and in a reasonable manner to inspect the

books and records of the other party only to the extent necessary to ensure that the accounts of such

other party with respect to amount of Product Shipped and any specific information about the Products

are complete and accurate. The party making such an inspection shall hold in complete confidence all

information obtained therefrom, except as shall be necessary to settle any dispute between the parties.

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        ARTICLE 7. OPERATIONS

       7.1 Responsibilities of NCSPA.

        (a)     NCSPA shall use best efforts to ensure that cranes and hoppers and the persons necessary

to operate the cranes will be available to serve the needs of CFB with a minimum of interruption or

delay. Provided that, the foregoing should not be construed as affording CFB priority rights to the

assignment of equipment.

       (b)      NCSPA shall use its best efforts (i) to coordinate with the United States Army Corps of

Engineers in order to maintain a channel to its docks, and (ii) to coordinate the NCSPA dredging

program with the channel dredging program so as to maintain a minimum sailing draft of 38 feet in

said channel and berths.

       (c)       NCSPA will comply with the terms of any law, regulation or permit (including the

Permits) applicable to its ownership of the Leased Area and operation of the Wilmington Port.

       7.2 Responsibilities of CFB.

       (a)     The operations conducted on the Leased Area by CFB shall be entirely the responsibility

of CFB, to include labor, maintenance, utilities, administrative services and any other costs connected

with CFB's operations. CFB will comply with the terms of any law, regulation or permit applicable to

its operations or the construction of any improvements on the Leased Area.

       (b)     Certain Repairs and Replacements.

       NCSPA shall be solely responsible for the full cost of repairs or replacements in the Leased

Area that consist of the railroad tracks, roads, grading and drainage or repairs or replacements that are

required as a result of the negligent, reckless or willful acts or omissions of NCSPA, its employees or

agents or repairs or replacements that are covered by the insurance required to be carried by NCSPA

pursuant to Section 10.1(b) below. In the event NCSPA fails to perform its obligations hereunder,

CFB shall have the right to perform such services and offset rent due under the Lease by an amount
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    equal to CFB's reasonable costs of such performance. CFB shall be responsible for any other repairs,

    replacements or maintenance required to maintain the Leased Area in good order and repair, subject to

    reasonable wear and tear and to Force Majeure.

            7.3      Railroad Car Switching; Track and Road Maintenance. NCSPA shall not have any

    responsibility or liability with respect to Switching in connection with CFB's operations. Any and all

    arrangements that CFB may make with respect to Switching are acknowledged to be outside the scope of

    this Lease. NCSPA shall be solely responsible for maintaining the existing railroad tracks and roads on

    the Leased Area and to and from the Facilities.

            7.4      Congestion. CFB will use commercially reasonable efforts to provide an adequate

    number of trucks to enable the NCSPA to efficiently discharge vessels, and NCSPA will endeavor to

    conduct its operations so as not to interfere with those of CFB.

            ARTICLE 8. OWNERSHIP OF PROPERTY
_
            8.1      Permanent Improvements. Subject to the provisions of Article 9, CFB shall have the

    right to add to the Permanent Improvements now situated upon the Leased Area.       Upon the expiration

    or termination of this Lease, however effected, NCSPA shall become the sole owner of such

    Permanent Improvements

            8.2     Moveable Equipment. CFB is the sole owner of all Moveable Equipment situated upon

    the Leased Area. Upon expiration of the Lease Term or in the event of the termination of the Lease by

    either party for any reason, CFB shall use commercially reasonable efforts to remove such Moveable

    Equipment from the Leased Area within thirty days following such expiration or termination. NCSPA

    shall become the sole owner of all such Moveable Equipment remaining upon the Leased Area thirty

    days following such termination or expiration. NCSPA will exert its good faith best efforts to provide a

    storage or "lay down" area for such Moveable Equipment as cannot be removed from Wilmington Port

    within the 30 day period, at its usual rental rates.
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        ARTICLE 9. ADDITIONS TO LEASED AREA AND RELATED FACILITIES

        9.1     Leased Area. CFB shall be entitled to make such changes in and additions to the

Leased Area as it shall reasonably deem necessary or appropriate in connection with its operations,

provided that before making any such change, addition or expansion CFB shall furnish a copy of the

plans to the Director of Engineering and Planning of NCSPA for approval, which approval will not be

unreasonably withheld. Any changes, alterations or additions made by CFB pursuant to this Article

shall be done in a good and workmanlike manner, and in compliance with all applicable laws,

ordinances, orders and requirements of all federal, state and local authorities having jurisdiction. CFB

agrees that it will promptly remove or release, by the posting of a bond or otherwise, any lien attached

to or upon the Leased Area or any portion thereof as a result of any such changes, alterations or

additions made by CFB.

       9.2      Other Improvements and Arrangements. In the event that CFB shall determine the

railroad tracks and spurs and the general storage area available for the moving and storage of rail cars

are insufficient for the efficient operation of the Leased Area, NCSPA shall cooperate with CFB in

permitting the construction of such additional improvements or the making of such arrangements by

CFB as shall be necessary for the efficient operation of the Facilities. NCSPA shall not be required

under this Section to make any specific property available to CFB or to materially interrupt or impede

any other operations of NCSPA.

       ARTICLE 10. INSURANCE; LIABILITY

       10.1 Insurance.

       (a)    During the Lease Term, CFB shall maintain in force at all times (i) commercial general

liability insurance insuring CFB against loss, damage, or liability for injury to or death of persons and

loss of or damage to property resulting from its activities on the Wilmington Port, including damages

caused by the operation of machinery, self-propelled or otherwise, with limits of not less than
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$1,500,000 per occurrence; (ii) worker's compensation insurance in such amounts as shall be required

by law, and such other forms and amounts of insurance as may from time to time be reasonably

requested by NCSPA or as may be required by law. Each of such policies shall contain cancellation

provisions requiring not less than thirty days' prior written notice to NCSPA as a condition precedent

to any cancellation thereof. Upon the request of NCSPA, CFB shall produce evidence of any and all

such insurance reasonably satisfactory to NCSPA.

        (b)     NCSPA shall maintain in force at all times, with financially sound and responsible

insurance carriers, fire, all-risk and extended coverage insurance on building C-l in the amount of the

replacement value thereof.      Upon the request of CFB, NCSPA shall produce evidence of such

insurance reasonably satisfactory to CFB.

        (c)    The insurance required under Section 10.1(a)(i) shall name NCSPA as an additional

insured as its interest may appear.

        (d)    To the full extent permitted by law, NCSPA and CFB each waives all right to recovery

against the other for, and agrees to release the other from liability for, loss or damage to the extent such

loss or damage is covered by valid and collectible insurance in effect at the time of such loss or

damage or would be covered by the insurance required to be maintained under this Lease by the party

seeking recovery.

        10.2     Liability.

        10.2.1. CFB shall at all times relieve, indemnify, protect and save harmless NCSPA and any

and all of its officers, agents and employees from any and all claims and demands, actions,

proceedings, losses, liens, costs and judgments of any kind and nature whatsoever, including expenses

incurred in defending against legal actions, for death or of injury to persons, or damage to property,

including property owned by or under the care and custody of NCSPA and for civi-1 fines and penalties

that may arise from or be caused directly or indirectly by:

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        (a) Any dangerous, hazardous, unsafe or defective condition of, in or on the Leased Area, of

any nature whatsoever, which may exist by reason of any act, omission, neglect, or any use or

occupation of the Leased Area by CFB, its officers, agents, employees, sublessees, licensees or

invitees;

        (b) Any operation conducted upon or any use or occupation of the Leased Area by CFB, its

officers, agents, employees, sublessees, licensees or invitees under or pursuant to the provisions of this

Lease or otherwise;

        (c) Any negligence or willful misconduct of CFB, its officers, agents, employees, sublessees,

licensees or invitees; or

        (d) Any failure of CFB, its officers, agents or employees to comply with any of the terms or

conditions of this Lease or any applicable federal, state, regional, or municipal law, ordinance, rule or

regulation.

        10.2.2 The term "persons" as used in Subsection 10.2.1 shall include, but not be limited to,

officers and employees of CFB.

        10.2.3. CFB shall also indemnify, defend and hold NCSPA harmless from any and all claims,

judgments, damages, penalties, fines, costs, liabilities or losses (including, without limitation,

diminution of the value of the premises, damages for loss or restriction on use of rentable or useable

space or of any amenity of the Leased Area, damages arising from any adverse impact on marketing of

space, and sums paid in settlement of claims, attorneys' fees, consultant fees and expert fees) which

arise during or after the Lease Term as a result of contamination during the Lease Term of the Leased

Area by hazardous materials in violation of any Environmental Law or by hazardous materials

requiring clean up or remediation under applicable Environmental Law, but only, in each instance, if

CFB is responsible for such contamination. This indemnification of NCSPA by CFB includes, without

limitation, costs incurred in connection with any investigation of site conditions or any clean up,

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remedial, removal or restoration work required by any federal, state or local governmental agency

because of hazardous material present in the soil or groundwater on or under the Leased Area for

which CFB was responsible, but shall not include the migration of any such hazardous material from

any adjacent site during the Lease Term. The foregoing indemnity shall survive the expiration or

earlier termination of this Lease.

        10.2.4. CFB shall not be liable for, and NCSPA shall, to the extent permitted by law and not

inconsistent with the North Carolina Tort Claims Act, relieve, indemnify, protect and save harmless

CFB and any and all of its officers, agents and employees from any and all claims and demands,

actions, proceedings, losses, liens, costs and judgments of any kind and nature whatsoever, including

expenses incurred in defending against legal actions, for death or injury to persons, or damage to

property, including property owned by or under the care and custody of CFB and for civil fines and

penalties that may arise from or be caused directly or indirectly by:

        (a) Any dangerous, hazardous, unsafe or defective condition of, in or on the Leased Area, of

any nature whatsoever, except for conditions of which CFB was or should have been aware prior to the

damage or injury in question;

        (b) Any contamination of the Leased Area prior to the Effective Date by hazardous materials

in violation of any Environmental Law or requiring clean up or remediation under applicable

Environmental Law;

       (c) Any negligence or willful misconduct of NCSPA, its officers, agents, employees,

sublessees, licensees or invitees; or

       (d) Any failure of NCSPA, its officers, agents or employees to comply with any of the terms or

conditions of this Lease or any applicable federal, state, regional, or municipal law, ordinance, rule or

regulation.

       The term "persons" as used in this Subsection 10.2.4 shall include, but not be limited to,

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officers and employees of NCSPA.

        10.2.5 The indemnification of CFB by NCSPA includes, without limitation, costs incurred in

connection with any investigation of site conditions or any clean up, remedial, removal or restoration

work required by any federal, state or local governmental agency because of hazardous material which

was present in the soil or groundwater on or under the Leased Area prior to the Effective Date. The

foregoing indemnity shall survive the expiration or earlier termination of this Lease.

        ARTICLE 11. COMPLIANCE WITH LAW

        11.1     Compliance with Law. During the term hereof (a) CFB and NCSPA shall each obey

and comply with the laws of the State of North Carolina and the United States, including all

Environmental Laws, and every statute, law, rule, regulation, ordinance or order by any governmental

body or agency, to the extent that any of the foregoing shall be applicable to them, (b) neither CFB nor

NCSPA shall commit or permit any nuisance to be carried out or performed at Wilmington Port, and

(c) NCSPA shall not promulgate or enforce any rule, regulation, ordinance or order that would be

inconsistent or conflict with the terms and provisions of, prevent or hinder the performance by either

party under, this Lease. However, CFB or NCSPA may in good faith contest the validity of any

statute, law, rule, regulation, ordinance or order, on the condition that such contest shall be pursued

diligently.

        ARTICLE 12. FORCE MA.TEURE

        12.1     Limitation of Liability. Neither party shall be liable to the other with respect to

damages on account of any delay or failure in the performance of any such party's obligations under

this Lease if such delay or failure is due to Force Majeure. With respect to any incident of Force

Majeure with respect to the Leased Area or the NCSPA docks that prevents CFB from conducting its

normal operations, the Wharfage Charge Guarantee set out in Section 5.2 shall be proportionately

reduced based on the severity and duration of the event of Force Majeure.

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                  12.2   Notice. In the event that either party determines that an event of Force Majeure has
-,—"'


         occurred or is likely to occur which has delayed or prevented or is likely to delay or prevent such

         party's performance hereunder, such party shall promptly furnish to the other party hereto written

         notice of such Force Majeure, setting forth the nature of such Force Majeure, the anticipated effect

         thereof on such party's performance hereunder, including the expected duration, and the alternative

         performance proposed by such party.

                  12.3   Efforts to Combat Force Majeure. The party whose performance hereunder is delayed

         or prevented by Force Majeure shall use commercially reasonable efforts to resume, with the least

         possible delay, compliance with its obligations hereunder, provided that such party shall not be

         required to settle any strike or industrial dispute.

                  ARTICLE 13. TAXES AND FEES

                  13.1   Liability of CFB.    NCSPA is an agency of the State of North Carolina and as such its

         property is not subject to any ad valorem taxes of Wilmington or New Hanover County, North

         Carolina. In the event that any type or form of tax shall be imposed upon the leasehold interest of CFB

         or on the Product or any personal property in the Leased Area CFB shall be solely responsible for the

         payment of any and all such taxes and shall indemnify NCSPA and hold it harmless against the same;

         provided that NCSPA shall not pay any such taxes and that, upon receipt of any invoice therefore,

         NCSPA shall promptly forward such invoice to CFB. Notwithstanding the foregoing, CFB shall not

         be prevented from contesting in good faith the validity of any type or form of tax.

                  13.2   Obligations of NCSPA. NCSPA shall not levy any special taxes or levies upon the

         Leased Area or any operations or activities conducted in connection therewith.

                  ARTICLE 14. DEFAULT

                  14.1   Default by CFB. Each of the following shall be deemed to be a default under this
  ^—,•
         Lease:
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        (a) failure of CFB to pay, as provided herein, (i) Annual Rent, (ii) Wharfage Charges or (iii)

other charges provided for in this Lease to the extent the same shall not be in dispute, and such failure

continues for fifteen (15) days after the receipt by CFB or a written notice to CFB by NCSPA that the

same shall be due and payable;

        (b) default in the performance by CFB of any other covenant or agreement to be performed by

it hereunder that shall continue for a period of thirty days following written notice by NCSPA to CFB

specifying such default and requiring it to be remedied. Provided that, in the case of any default which

with due diligence cannot be remedied by CFB within such thirty day period, if CFB shall proceed

with all due diligence to remedy such default, such thirty day period shall be extended for such

additional period as may be reasonably necessary.

        14.2   Default by NCSPA. The following shall be deemed to be a default under this Lease: a

default in the performance by NCSPA of any covenant or agreement to be performed by it hereunder

that shall continue for a period of thirty days following written notice by CFB to NCSPA specifying

such default and requiring it to be remedied: Provided that, in the case of any default which with due

diligence cannot be remedied by NCSPA within such thirty day period, if NCSPA shall proceed with

all due diligence to remedy such default, such thirty day period shall be extended for such additional

period as may be reasonably necessary.

       ARTICLE 15. TERMINATION

       15.1    By Either Party for Damage or Destruction. In the event that any portion of the Leased

Area shall be damaged or destroyed as a result of fire, flood, storm, explosion, riot, act of God or other

event(s) or causes, including failure due to age and deterioration, such that the effective storage

capacity of the Leased Area shall be reduced by more than twenty-five percent (25%), and such

damage or destruction or failure cannot be repaired in less than 180 days, either party shall have the

right to terminate this Lease upon thirty (30) days' prior written notice to the other. During any such
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period of reduced capacity, whether being repaired or not, Annual Rent and Wharfage Guarantee shall

be abated in proportion to the reduction in CFB's storage capacity.

        15.2   Right of NCSPA to Terminate. In the event of any default by CFB under Section

14.1(a) or any default by it under Section 14.1(b) that shall not have been remedied as provided

therein, NCSPA by written notice delivered to CFB at any time during the continuation of such default

may terminate this Lease as of a date to be specified in such notice. Said date shall be not less than

thirty (30) days following the delivery of such notice and this Lease shall terminate on such specified

date unless such default shall have been cured prior thereto.

        15.3   Right of CFB to Terminate. In the event of a default by NCSPA under Section 14.2 that

shall not have been remedied as provided therein, CFB by written notice delivered to NCSPA at any

time during the continuation of such default may terminate this Lease as of a date to be specified in

such notice. Said date shall be not less than thirty days following the delivery of such notice and this

Lease shall terminate on such specified date unless such default shall have been cured prior thereto.

       15.4    Obligations of CFB Upon Termination. In the event of a termination of this Lease for

any reason, including but not limited to default of CFB or NCSPA, CFB shall pay forthwith to NCSPA

any and all sums due NCSPA under this Lease, including without limitation sums in respect of Annual

Rent, Wharfage Charges and other charges accrued as of the date of termination. CFB shall remove all

Product stored on the Leased Area, and shall thoroughly clean the same including^ in the case of

buildings, removing any residues which may have settled on floors, walls, roofs and supporting

structures using high pressure air and water. All storage pad surfaces must be swept clean. CFB will

properly dispose of any cleaning residue. Subject to the provisions of Section 8.2, CFB shall also

remove any Moveable Equipment, other equipment or other material from the Leased Area. Should

CFB fail to comply with this Section, NCSPA shall have the right to clean the Leased Area and



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    remove any Product, equipment, material or, subject to Section 8.2, Moveable Equipment at CFB's

    expense

            15.5   Other RJRhts of NCSPA. Subject to Section 8.2, in the event that this Lease shall be

    terminated by NCSPA as provided in Section 14.2, or (ii) in the event that the Leased Area shall be

    abandoned by CFB, then NCSPA, its employees, servants, representatives and/or agents shall be

    entitled immediately or at any time thereafter to reenter and resume possession of the Leased Area and

    to remove all persons and property from the Leased Area by summary ejectment proceedings, an

    appropriate action or proceeding at law, or reasonable force, without incurring liability to CFB for any

    damages in connection therewith. Any such reentry by NCSPA upon the Leased Area shall not be

    deemed to be an acceptance by it of the surrender by CFB of this Lease.

           ARTICLE 16. ENVIRONMENTAL CLAUSES

            16.1   Liability and Reporting. CFB shall be liable for, and shall hold NCSPA harmless from,
^
    any loss, cost, or damages, including reasonable attorney's fees, due wholly or in part to CFB's failure

    to remediate any hazardous or polluting substance caused or allowed to be leaked, spilled, or otherwise

    introduced on or around the Leased Area or any other part of Wilmington Port as the result of CFB's

    operations thereon (a "Release"), where such Release was in violation of any Environmental Law or

    requires clean up or remediation under applicable Environmental Law. CFB shall furnish NCSPA

    with a written report detailing all Releases, as defined in Subsection 101 (22) of the Comprehensive

    Environmental Response, Compensation and Liability Act of 1980 (CERCLA or Superfund Act), P.L.

    96-510, or as defined in any applicable permit, which occur on or from the Leased Area whenever such

    Releases are required to be reported to any federal, state or local authority in accordance with any

    federal, state or local laws, rules, and ordinances, and any regulations issued thereunder. Such written

    report shall identify the material released, the estimated amount released, and the measures undertaken

    to clean up and remove the released material and any contaminated soil or water, and shall further

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certify that no contamination in excess of applicable federal, state or local cleanup requirements or

standards remains or will remain after the cleanup measures have been completed. Such reports shall

be supplemented by providing NCSPA with copies of any written reports required to be submitted by

CFB to any governmental agency in accordance with any federal, state or local law, rule, regulation, or

ordinance, or by the National Oil and Hazardous Substances Pollution Contingency Plan as it now

exists or as it may hereafter be amended. The foregoing reports to NCSPA and copies of reports to

governmental agencies shall be sent to NCSPA's Chief Engineer, North Carolina State Ports Authority,

P. O. Box 9002, Wilmington, North Carolina 28402, at the same time as such notification, whether

written or otherwise, is required to be given to any such governmental agency.

        16.2   Stormwater.    CFB will comply with all provisions and requirements of NCSPA's

stormwater permit, as well as employ good housekeeping techniques to keep CFB's operations in

compliance with the Stormwater Pollution Prevention Plan.

        16.3   Compliance. CFB will conduct its operations in compliance with all environmental

permits and requirements applicable thereto, including without limitation NCSPA's Air Quality Permit

and any permits required for any improvements to be constructed on the Leased Area.

        16.4   Movement Reports. Not later than the tenth of each month, so long as any of the

Facilities are operated under NCSPA's Air Quality Permit, CFB will provide NCSPA's Environmental

Manager with a report detailing the movement of Product from vessels and from storage to inland

carrier. The report shall state the Product type as well as the amount moved.

       ARTICLE 17. MISCELLANEOUS PROVISIONS

       17.1    Amendments. This Lease may be changed only by an agreement in writing signed by

both parties hereto, or, in the case of waiver, by the party waiving compliance.




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         17.2   Entire Agreement.      This Lease embodies the entire agreement and understanding

between the parties hereto and supersedes any prior agreements relating to the subject matter of this

Lease.

         17.3   Counterparts. This Lease may be executed simultaneously in two or more counterparts,

each of which shall be deemed an original, but all of which together shall constitute one and the same

instrument.

         17.4   Assignment. This Lease shall be binding upon and inure to the benefit of the parties

hereto and their respective successors and assigns. In the event either party proposes to assign the

Lease, it shall inform the other in writing, describing in full the proposed assignee. The other party

shall then have 30 days within which to object to such assignment, but it will not do so without good

cause.

         17.5   Governing Law/Forum for Resolution of Disputes. This Lease shall be construed and

interpreted in accordance with, and the rights and obligations of the parties shall be governed by, the

laws of the State of North Carolina. In the event a dispute arises between the parties that cannot be

settled after good faith negotiations, either party may submit the issue to mediation before a mediator

certified by the US District Court or the North Carolina Superior Courts. If such mediation does not

resolve the dispute, the forum for resolution shall be the Southern (Wilmington) Division of the

Eastern District of the United States District Court or the North Carolina Superior Courts.

         17.6   Headings; Exhibits.

         (a) The section headings contained in this Lease are for reference purposes only and shall not

affect in any way the meaning and interpretation of this Lease.

         (b) All Exhibits referred to in this Lease are attached hereto and are deemed to be incorporated

herein by reference.



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               17.7     Invalidity or Unenforceability. In the event that any provision of this Lease shall be

       finally determined by a court of competent jurisdiction to be invalid or unenforceable, this Lease shall

       be deemed to have been amended to eliminate such provision such that the remaining provisions of this

       Lease shall be valid and enforceable.

               17.8     Notices.

               (a)      All notices and other communications hereunder shall be in writing and shall be given

       or made by hand delivery, certified or registered mail, overnight delivery with proof of delivery or by

       facsimile as follows:

                        (i) iftoNCSPA:

                               North Carolina State Ports Authority
                               Post Office Box 9002
                               Wilmington, North Carolina 28403
                               ATTENTION: Property Administrator
                               COPY TO: Chief Finance and Information Officer

                        (ii) iftoCFB:

                               SQM North America Corporation
                               3101 Towercreek Parkway
                               Suite 450
                               Atlanta, Georgia 30339
                               ATTENTION: Mr. David Hannah

           Or to such other person or address as either party hereto may specify to the other party in writing.

              (b) Any notice or other communication hereunder shall be deemed to have been duly given or

       made (i) when delivered against receipt therefore, (ii) if made by fax, upon acknowledgment of receipt

       of the transmission by the answerback of the fax machine of the receiving party, provided that a

       confirmation and copy of the transmittal notice is sent to such party by overnight courier.

       Notwithstanding the foregoing, any notice or other communication hereunder which is actually

       received by a party hereto shall be deemed to have been duly given or made.
•— •



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            17.9    Waiver. Any waiver by a party hereto shall be deemed to be limited in application to

    the matters explicitly referred to therein and shall neither be construed as, nor entitle the other party to,

    a waiver by such party as to any other similar matter.

            17.10 Damages. Notwithstanding anything to the contrary elsewhere in this Lease, no party

    will be liable to any other party or person for incidental, consequential, special or punitive damages,

    loss of future revenues or income, lost profits, loss of business reputation or opportunity relating to any

    breach or alleged breach of this Lease, regardless of whether such liability is based on breach of

    contract, tort, strict liability, breach of warranties, failure of essential purpose or otherwise.

           IN WITNESS WHEREOF, the parties hereto have hereunto set their respective hands and seals

    as of the date first above written.

                                    NORTH CARD                 ATE PORTS AUTHORITY


_                                                                                                   (SEAL)
                                            Thomas J. Eagan
                                            Chief Executive/Officer


    ATTEST:




                                            CAPE FEAR BULK, LLC
                                            By:  SQM NORTH AMERICA CORP
                                                 Managing Member


                                                                                                    (SEAL)



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                                                         27


       APPROVED AS TO FORM:

       ROY COOPER
       Attorney General



       Dennis Myers       //
       Assistant Attorney^General



       STATE OF NORTH CAROLINA
       COUNTY OF NEW HANOVER

              I, Ivy E. McGuire, a Notary Public in and for the County and State aforesaid, do hereby certify

       that Jeff L. Strader personally appeared before me this date and acknowledged that he is Assistant

       Secretary of the North Carolina State Ports Authority and that by authority duly given and as an act of

       the North Carolina State Ports Authority, the foregoing instrument was signed by Thomas J. Eagar, its

       Chief Executive Officer, attested by himself as Assistant Secretary, and sealed with the common seal

       of the North Carolina State Ports Authority.

              IN WITNESS WHEREOF, I have hereunto set my hand and Notarial Seal, this the o? I               day

       of January 2005.

                                                                                             (Notary Seal)
                                                                  Notary Public

       My Commission Expires:,       2-/7-04,




X-_-




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    STATE OF GEORGIA
    COUNTY OF^BAftTGW-

                   I, (     A   q     l g J T          a Notary Public i n a n d f o r t h e County a n d State

           aforesaid, do hereby certify that Ignacio Ruiz personally came before me this day and

    acknowledged that he is the President of SQM North America Corp., which is the managing member

    of CAPE FEAR BULK, LLC and that by authority duly given and as an act of SQM North America

    Corp, as the managing member of CAPE FEAR BULK, LLC, the foregoing instrument was signed by

    him in that capacity.

           IN WITNESS WHEREOF, I have hereunto set my hand and Notarial Seal this the 2!1                    day

    of January 2005.



                                                       Notary Public

                                    .th
    My Commission expires: ruX" J~ls
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Proposed Metro Rent Abatement Schedule for C-1, September 4, 2019 (original), November 25, 2019 (updated)
                                                                                                                                             Water Intrusion
                                                                                                              Hurricane Florence and Loss
                                                                                         Roof Repairs,                                       (Gutter and Rain
                                                                                                               of Space Rent Abatement
                                                                   Column Repair         Amendment 2                                        impacts, ongoing)
                                 RENT AFTER        TOTAL
                    RENT         ABATEMENT       ABATEMENT          $179,704.00                 $694,441.89                  $210,245.00            $20,000.00
     10/1/2019      $53,341.89          $0.00      $53,341.89                                                                 $53,341.89
     11/1/2019      $53,341.89          $0.00      $53,341.89                                                                 $53,341.89
     12/1/2019      $53,341.89          $0.00      $53,341.89                                                                 $53,341.89
      1/1/2020      $54,942.15     $26,913.07      $28,029.08              $2,495.89              $9,645.03                   $12,554.83             $3,333.33
      2/1/2020      $54,942.15     $26,913.07      $28,029.08              $2,495.89              $9,645.03                   $12,554.83             $3,333.33
      3/1/2020      $54,942.15     $26,913.07      $28,029.08              $2,495.89              $9,645.03                   $12,554.83             $3,333.33
      4/1/2020      $54,942.15     $26,913.07      $28,029.08              $2,495.89              $9,645.03                   $12,554.83             $3,333.33
      5/1/2020      $54,942.15     $39,467.90      $15,474.25              $2,495.89              $9,645.03                                          $3,333.33
      6/1/2020      $54,942.15     $39,467.90      $15,474.25              $2,495.89              $9,645.03                                          $3,333.33
      7/1/2020      $54,942.15     $42,801.23      $12,140.92              $2,495.89              $9,645.03
      8/1/2020      $54,942.15     $42,801.23      $12,140.92              $2,495.89              $9,645.03
      9/1/2020      $54,942.15     $42,801.23      $12,140.92              $2,495.89              $9,645.03
     10/1/2020      $54,942.15     $42,801.23      $12,140.92              $2,495.89              $9,645.03
     11/1/2020      $54,942.15     $42,801.23      $12,140.92              $2,495.89              $9,645.03
     12/1/2020      $54,942.15     $42,801.23      $12,140.92              $2,495.89              $9,645.03
      1/1/2021      $56,590.41     $44,449.50      $12,140.92              $2,495.89              $9,645.03
      2/1/2021      $56,590.41     $44,449.50      $12,140.92              $2,495.89              $9,645.03
      3/1/2021      $56,590.41     $44,449.50      $12,140.92              $2,495.89              $9,645.03
      4/1/2021      $56,590.41     $44,449.50      $12,140.92              $2,495.89              $9,645.03
      5/1/2021      $56,590.41     $44,449.50      $12,140.92              $2,495.89              $9,645.03
      6/1/2021      $56,590.41     $44,449.50      $12,140.92              $2,495.89              $9,645.03
      7/1/2021      $56,590.41     $44,449.50      $12,140.92              $2,495.89              $9,645.03
      8/1/2021      $56,590.41     $44,449.50      $12,140.92              $2,495.89              $9,645.03
      9/1/2021      $56,590.41     $44,449.50      $12,140.92              $2,495.89              $9,645.03
     10/1/2021      $56,590.41     $44,449.50      $12,140.92              $2,495.89              $9,645.03
     11/1/2021      $56,590.41     $44,449.50      $12,140.92              $2,495.89              $9,645.03
     12/1/2021      $56,590.41     $44,449.50      $12,140.92              $2,495.89              $9,645.03
      1/1/2022      $58,288.12     $46,147.21      $12,140.92              $2,495.89              $9,645.03
      2/1/2022      $58,288.12     $46,147.21      $12,140.92              $2,495.89              $9,645.03
      3/1/2022      $58,288.12     $46,147.21      $12,140.92              $2,495.89              $9,645.03
      4/1/2022      $58,288.12     $46,147.21      $12,140.92              $2,495.89              $9,645.03
      5/1/2022      $58,288.12     $46,147.21      $12,140.92              $2,495.89              $9,645.03
      6/1/2022      $58,288.12     $46,147.21      $12,140.92              $2,495.89              $9,645.03
      7/1/2022      $58,288.12     $46,147.21      $12,140.92              $2,495.89              $9,645.03
      8/1/2022      $58,288.12     $46,147.21      $12,140.92              $2,495.89              $9,645.03
      9/1/2022      $58,288.12     $46,147.21      $12,140.92              $2,495.89              $9,645.03
     10/1/2022      $58,288.12     $46,147.21      $12,140.92              $2,495.89              $9,645.03
     11/1/2022      $58,288.12     $46,147.21      $12,140.92              $2,495.89              $9,645.03
     12/1/2022      $58,288.12     $46,147.21      $12,140.92              $2,495.89              $9,645.03
      1/1/2023      $60,036.77     $47,895.85      $12,140.92              $2,495.89              $9,645.03
      2/1/2023      $60,036.77     $47,895.85      $12,140.92              $2,495.89              $9,645.03
      3/1/2023      $60,036.77     $47,895.85      $12,140.92              $2,495.89              $9,645.03
      4/1/2023      $60,036.77     $47,895.85      $12,140.92              $2,495.89              $9,645.03
      5/1/2023      $60,036.77     $47,895.85      $12,140.92              $2,495.89              $9,645.03
      6/1/2023      $60,036.77     $47,895.85      $12,140.92              $2,495.89              $9,645.03
      7/1/2023      $60,036.77     $47,895.85      $12,140.92              $2,495.89              $9,645.03
      8/1/2023      $60,036.77     $47,895.85      $12,140.92              $2,495.89              $9,645.03
      9/1/2023      $60,036.77     $47,895.85      $12,140.92              $2,495.89              $9,645.03
     10/1/2023      $60,036.77     $47,895.85      $12,140.92              $2,495.89              $9,645.03
     11/1/2023      $60,036.77     $47,895.85      $12,140.92              $2,495.89              $9,645.03
     12/1/2023      $60,036.77     $47,895.85      $12,140.92              $2,495.89              $9,645.03
      1/1/2024      $61,837.87     $49,696.96      $12,140.92              $2,495.89              $9,645.03
      2/1/2024      $61,837.87     $49,696.96      $12,140.92              $2,495.89              $9,645.03
      3/1/2024      $61,837.87     $49,696.96      $12,140.92              $2,495.89              $9,645.03
      4/1/2024      $61,837.87     $49,696.96      $12,140.92              $2,495.89              $9,645.03
      5/1/2024      $61,837.87     $49,696.96      $12,140.92              $2,495.89              $9,645.03
      6/1/2024      $61,837.87     $49,696.96      $12,140.92              $2,495.89              $9,645.03
      7/1/2024      $61,837.87     $49,696.96      $12,140.92              $2,495.89              $9,645.03
      8/1/2024      $61,837.87     $49,696.96      $12,140.92              $2,495.89              $9,645.03
      9/1/2024      $61,837.87     $49,696.96      $12,140.92              $2,495.89              $9,645.03
     10/1/2024      $61,837.87     $49,696.96      $12,140.92              $2,495.89              $9,645.03
     11/1/2024      $61,837.87     $49,696.96      $12,140.92              $2,495.89              $9,645.03
     12/1/2024      $61,837.87     $49,696.96      $12,140.92              $2,495.89              $9,645.03
      1/1/2025      $63,693.01     $51,552.09      $12,140.92              $2,495.89              $9,645.03
      2/1/2025      $63,693.01     $51,552.09      $12,140.92              $2,495.89              $9,645.03
      3/1/2025      $63,693.01     $51,552.09      $12,140.92              $2,495.89              $9,645.03
      4/1/2025      $63,693.01     $51,552.09      $12,140.92              $2,495.89              $9,645.03
      5/1/2025      $63,693.01     $51,552.09      $12,140.92              $2,495.89              $9,645.03
      6/1/2025      $63,693.01     $51,552.09      $12,140.92              $2,495.89              $9,645.03
      7/1/2025      $63,693.01     $51,552.09      $12,140.92              $2,495.89              $9,645.03
      8/1/2025      $63,693.01     $51,552.09      $12,140.92              $2,495.89              $9,645.03
      9/1/2025      $63,693.01     $51,552.09      $12,140.92              $2,495.89              $9,645.03
     10/1/2025      $63,693.01     $51,552.09      $12,140.92              $2,495.89              $9,645.03
     11/1/2025      $63,693.01     $51,552.09      $12,140.92              $2,495.89              $9,645.03
     12/1/2025      $63,693.01     $51,552.09      $12,140.92              $2,495.89              $9,645.03




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C1 South End Amendment 3 Spreadsheet v2                                    Document 1-1                       Filed 04/26/22                    Page 48 of 53
                                                                                                                                                            10/28/20191:46 PM
                                                                                         November 25, 2019
                                                                                         Pedestal and Column Repairs Proposed for Amendment 3, C-1
                                                   Contract                Contractor             Scope of Work                 Each          Total       Contracting Entity                             Notes

                                                                                                                                                                               Firm quantity to be repaired, subject to NC Ports rent
                                      South End Column Repairs            SEI           A Frame (8X)                         $22,463.00    $179,704.00          Metro          abatement
                                                                                                                                                                               Contract cost, Subject to further additional quantity at
                                                                                                                                                                               unit price, once inspections can be made. At this time,
                                      South End Column Repairs            SEI           Column Pedestal Repairs (15ea)        $ 2,750.00   $ 41,250.00          Metro          all costs borne by Metro

                                                                                                                                                                               Includes three Column pedestals (M10/F, M11/F,
                                      West Wall Repairs                   TMC           West Wall Repairs Project (other)    $ (2,750.00) $ (8,250.00)        NC Ports         M12/F), Reduces Metro's actual contract cost to SEI

                                      *There are some uninspected pedestals.
                                      *Ports has a contract to repair the west wall of C-1 at a cost of $49,250 -west wall project ncludes 3 pedestals that are Metro columns M10/F, M11/F, M12/F (cost reduction to Metro)




C1 South End Amendment 3 Spreadsheet v2                                                 Case 7:22-cv-00067-FL               Document 1-1         Filed 04/26/22          Page 49 of 53                                                    10/28/20191:46 PM
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                 Needed Repairs, as of November 25, 2019 (page 1 of 3)


              Resp.                                                                    Resp.
   Column                Repair Type               Comments                 Column               Repair Type           Comments
              Party                                                                    Party
A-N1        N/A       N/A                 Rebuilt in 2019/2020           B-N1        N/A       N/A             Rebuilt in 2019/2020
A-N2        N/A       N/A                 Rebuilt in 2019/2020           B-N2        N/A       N/A             Rebuilt in 2019/2020
A-N3        N/A       N/A                 Rebuilt in 2019/2020           B-N3        N/A       N/A             Rebuilt in 2019/2020
A-N4        N/A       N/A                 Rebuilt in 2019/2020           B-N4        N/A       N/A             Rebuilt in 2019/2020
A-N5        N/A       N/A                 Rebuilt in 2019/2020           B-N5        N/A       N/A             Rebuilt in 2019/2020
A-N6        N/A       N/A                 Rebuilt in 2019/2020           B-N6        N/A       N/A             Rebuilt in 2019/2020
A-N7        N/A       N/A                 Rebuilt in 2019/2020           B-N7        N/A       N/A             Rebuilt in 2019/2020
A-M1        N/A       N/A                 Does not require repair        B-M1        N/A       N/A             Does not require repair
A-M2        N/A       N/A                 Does not require repair        B-M2        N/A       N/A             Does not require repair
A-M3        N/A       N/A                 Does not require repair        B-M3        TBD       TBD             Unobserved / Unknown
A-M4        N/A       N/A                 Does not require repair        B-M4        TBD       TBD             Unobserved / Unknown
A-M5        N/A       N/A                 Does not require repair        B-M5        TBD       TBD             Unobserved / Unknown
A-M6        N/A       N/A                 Does not require repair        B-M6        TBD       TBD             Unobserved / Unknown
A-M7        N/A       N/A                 Does not require repair        B-M7        TBD       TBD             Unobserved / Unknown
A-M8        N/A       N/A                 Does not require repair        B-M8        TBD       TBD             Unobserved / Unknown
A-M9        N/A       N/A                 Does not require repair        B-M9        TBD       TBD             Unobserved / Unknown
A-M10       N/A       N/A                 Does not require repair        B-M10       TBD       TBD             Unobserved / Unknown
A-M11       N/A       N/A                 Does not require repair        B-M11       TBD       TBD             Unobserved / Unknown
A-M12       N/A       N/A                 Does not require repair        B-M12       TBD       TBD             Unobserved / Unknown
A-M13       N/A       N/A                 Does not require repair        B-M13       N/A       N/A             Does not require repair
A-M14       N/A       N/A                 Does not require repair        B-M14       N/A       N/A             Does not require repair
A-M15       N/A       N/A                 Does not require repair        B-M15       N/A       N/A             Does not require repair
A-M16       N/A       N/A                 Does not require repair        B-M16       TBD       TBD             Unobserved / Unknown
A-M17       N/A       N/A                 Does not require repair        B-M17       TBD       TBD             Unobserved / Unknown
A-M18       N/A       N/A                 Does not require repair        B-M18       N/A       N/A             Does not require repair
A-M19       N/A       N/A                 Does not require repair        B-M19       N/A       N/A             Does not require repair
A-M20       N/A       N/A                 Does not require repair        B-M20       N/A       N/A             Does not require repair
A-M21       N/A       N/A                 Does not require repair        B-M21       TBD       TBD             Unobserved / Unknown
A-M22       N/A       N/A                 Does not require repair        B-M22       TBD       TBD             Unobserved / Unknown
A-M23       N/A       N/A                 Does not require repair        B-M23       TBD       TBD             Unobserved / Unknown
A-M24       N/A       N/A                 Does not require repair        B-M24       TBD       TBD             Unobserved / Unknown
A-M25       N/A       N/A                 Does not require repair        B-M25       TBD       TBD             Unobserved / Unknown
A-M26       N/A       N/A                 Does not require repair        B-M26       TBD       TBD             Unobserved / Unknown
A-S8        N/A       N/A                 Does not require repair        B-S8        N/A       N/A             Does not require repair
A-S9        N/A       N/A                 Does not require repair        B-S9        N/A       N/A             Does not require repair
A-S10       N/A       N/A                 Does not require repair        B-S10       N/A       N/A             Does not require repair
A-S11       N/A       N/A                 Does not require repair        B-S11       N/A       N/A             Does not require repair
A-S12       N/A       N/A                 Does not require repair        B-S12       N/A       N/A             Does not require repair




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                  Needed Repairs, as of November 25, 2019 (page 2 of 3)


              Resp.                                                                      Resp.
   Column                     Repair Type                Comments            Column                      Repair Type               Comments
              Party                                                                       Party
C-N1        N/A        N/A                      Rebuilt in 2019/2020      D-N1         N/A        N/A                      Rebuilt in 2019/2020
C-N2        N/A        N/A                      Rebuilt in 2019/2020      D-N2         N/A        N/A                      Rebuilt in 2019/2020
C-N3        N/A        N/A                      Rebuilt in 2019/2020      D-N3         N/A        N/A                      Rebuilt in 2019/2020
C-N4        N/A        N/A                      Rebuilt in 2019/2020      D-N4         N/A        N/A                      Rebuilt in 2019/2020
C-N5        N/A        N/A                      Rebuilt in 2019/2020      D-N5         N/A        N/A                      Rebuilt in 2019/2020
C-N6        N/A        N/A                      Rebuilt in 2019/2020      D-N6         N/A        N/A                      Rebuilt in 2019/2020
C-N7        N/A        N/A                      Rebuilt in 2019/2020      D-N7         N/A        N/A                      Rebuilt in 2019/2020
C-M1        N/A        N/A                      Does not require repair   D-M1         N/A        N/A                      Does not require repair
C-M2        N/A        N/A                      Does not require repair   D-M2         SEC        TBD                      Needs Repair
C-M3        N/A        N/A                      Does not require repair   D-M3         SEC        TBD                      Needs Repair
C-M4        N/A        N/A                      Does not require repair   D-M4         TBD        TBD                      Unobserved / Unknown
C-M5        N/A        N/A                      Does not require repair   D-M5         TBD        TBD                      Unobserved / Unknown
C-M6        N/A        N/A                      Does not require repair   D-M6         TBD        TBD                      Unobserved / Unknown
C-M7        N/A        N/A                      Does not require repair   D-M7         TBD        TBD                      Unobserved / Unknown
C-M8        TBD        TBD                      Unobserved / Unknown      D-M8         TBD        TBD                      Unobserved / Unknown
C-M9        N/A        N/A                      Does not require repair   D-M9         TBD        TBD                      Unobserved / Unknown
C-M10       N/A        N/A                      Does not require repair   D-M10        TBD        TBD                      Unobserved / Unknown
C-M11       N/A        N/A                      Does not require repair   D-M11        TBD        TBD                      Unobserved / Unknown
C-M12       N/A        N/A                      Does not require repair   D-M12        N/A        N/A                      Does not require repair
C-M13       N/A        N/A                      Does not require repair   D-M13        N/A        N/A                      Does not require repair
C-M14       N/A        N/A                      Does not require repair   D-M14        N/A        N/A                      Does not require repair
C-M15       N/A        N/A                      Does not require repair   D-M15        N/A        N/A                      Does not require repair
C-M16       TBD        TBD                      Unobserved / Unknown      D-M16        N/A        N/A                      Does not require repair
C-M17       TBD        TBD                      Unobserved / Unknown      D-M17        N/A        N/A                      Does not require repair
C-M18       TBD        TBD                      Unobserved / Unknown      D-M18        N/A        N/A                      Does not require repair
C-M19       TBD        TBD                      Unobserved / Unknown      D-M19        SEC        TBD                      Needs Repair
C-M20       TBD        TBD                      Unobserved / Unknown      D-M20        N/A        N/A                      Does not require repair
C-M21       TBD        TBD                      Unobserved / Unknown      D-M21        TBD        TBD                      Unobserved / Unknown
C-M22       TBD        TBD                      Unobserved / Unknown      D-M22        N/A        N/A                      Does not require repair
C-M23       TBD        TBD                      Unobserved / Unknown      D-M23        N/A        N/A                      Does not require repair
C-M24       TBD        TBD                      Unobserved / Unknown      D-M24        TBD        TBD                      Unobserved / Unknown
C-M25       TBD        TBD                      Unobserved / Unknown      D-M25        N/A        N/A                      Does not require repair
C-M26       TBD        TBD                      Unobserved / Unknown      D-M26        N/A        N/A                      Does not require repair
C-S8        NC Ports   Replace all, like kind   Needs Repair              D-S8         NC Ports   Replace all, like kind   Needs Repair
C-S9        NC Ports   Replace all, like kind   Needs Repair              D-S9         NC Ports   Replace all, like kind   Needs Repair
C-S10       NC Ports   Replace all, like kind   Needs Repair              D-S10        NC Ports   Replace all, like kind   Needs Repair
C-S11       NC Ports   Replace all, like kind   Needs Repair              D-S11        NC Ports   Replace all, like kind   Needs Repair
C-S12       N/A        N/A                      Does not require repair   D-S12        N/A        N/A                      Does not require repair




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                Needed Repairs, as of November 25, 2019 (page 3 of 3)


              Resp.    Repair                                                 Resp.     Repair
   Column                               Comments                   Column                                Comments
              Party     Type                                                  Party      Type
E-N1        N/A       N/A       Rebuilt in 2019/2020           F-N1         N/A       N/A        Rebuilt in 2019/2020
E-N2        N/A       N/A       Rebuilt in 2019/2020           F-N2         N/A       N/A        Rebuilt in 2019/2020
E-N3        N/A       N/A       Rebuilt in 2019/2020           F-N3         N/A       N/A        Rebuilt in 2019/2020
E-N4        N/A       N/A       Rebuilt in 2019/2020           F-N4         N/A       N/A        Rebuilt in 2019/2020
E-N5        N/A       N/A       Rebuilt in 2019/2020           F-N5         N/A       N/A        Rebuilt in 2019/2020
E-N6        N/A       N/A       Rebuilt in 2019/2020           F-N6         N/A       N/A        Rebuilt in 2019/2020
E-N7        N/A       N/A       Rebuilt in 2019/2020           F-N7         N/A       N/A        Rebuilt in 2019/2020
E-M1        N/A       N/A       Does not require repair        F-M1         SEC       TBD        Needs Repair
E-M2        SEC       TBD       Needs Repair                   F-M2         N/A       N/A        Does not require repair
E-M3        SEC       TBD       Needs Repair                   F-M3         N/A       N/A        Does not require repair
E-M4        N/A       N/A       Does not require repair        F-M4         N/A       N/A        Does not require repair
E-M5        N/A       N/A       Does not require repair        F-M5         SEC       TBD        Needs Repair
E-M6        N/A       N/A       Does not require repair        F-M6         SEC       TBD        Needs Repair
E-M7        SEC       TBD       Needs Repair                   F-M7         N/A       N/A        Does not require repair
E-M8        N/A       N/A       Does not require repair        F-M8         N/A       N/A        Does not require repair
E-M9        N/A       N/A       Does not require repair        F-M9         N/A       N/A        Does not require repair
E-M10       N/A       N/A       Does not require repair        F-M10        SEC       TBD        *Repaired by NC Ports
E-M11       SEC       TBD       Needs Repair                   F-M11        SEC       TBD        *Repaired by NC Ports
E-M12       SEC       TBD       Needs Repair                   F-M12        SEC       TBD        *Repaired by NC Ports
E-M13       N/A       N/A       Does not require repair        F-M13        N/A       N/A        Does not require repair
E-M14       N/A       N/A       Does not require repair        F-M14        N/A       N/A        Does not require repair
E-M15       SEC       TBD       Needs Repair                   F-M15        N/A       N/A        Does not require repair
E-M16       SEC       TBD       Needs Repair                   F-M16        N/A       N/A        Does not require repair
E-M17       N/A       N/A       Does not require repair        F-M17        N/A       N/A        Does not require repair
E-M18       N/A       N/A       Does not require repair        F-M18        N/A       N/A        Does not require repair
E-M19       N/A       N/A       Does not require repair        F-M19        N/A       N/A        Does not require repair
E-M20       N/A       N/A       Does not require repair        F-M20        N/A       N/A        Does not require repair
E-M21       N/A       N/A       Does not require repair        F-M21        N/A       N/A        Does not require repair
E-M22       N/A       N/A       Does not require repair        F-M22        N/A       N/A        Does not require repair
E-M23       TBD       TBD       Unobserved / Unknown           F-M23        TBD       TBD        Unobserved / Unknown
E-M24       TBD       TBD       Unobserved / Unknown           F-M24        TBD       TBD        Unobserved / Unknown
E-M25       TBD       TBD       Unobserved / Unknown           F-M25        TBD       TBD        Unobserved / Unknown
E-M26       TBD       TBD       Unobserved / Unknown           F-M26        N/A       N/A        Does not require repair
E-S8        N/A       N/A       Does not require repair        F-S8         N/A       N/A        Does not require repair
E-S9        N/A       N/A       Does not require repair        F-S9         N/A       N/A        Does not require repair
E-S10       N/A       N/A       Does not require repair        F-S10        N/A       N/A        Does not require repair
E-S11       N/A       N/A       Does not require repair        F-S11        N/A       N/A        Does not require repair
E-S12       N/A       N/A       Does not require repair        F-S12        N/A       N/A        Does not require repair




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